                                 Juvenile Life Without Parole 6-2-2017
      Name            DOC ID   Pet. Date     Hrg Date       Institution Video/In Person                 Results                               Comments
 Houston, Bradley     155400   8/5/2016      11/16/2016       ERDCC        In Person               Release 5/27/2020
 Vincent, Michael     175509   8/10/2016     11/18/2016        JCCC        In Person        Reconsideration Hearing 11/2021
 Seddens, Bryan       181046   8/18/2016     12/20/2016        SCCC          Video          Reconsideration Hearing 12/2019
                                                                                             Due to having CS sequences the
                                                                                          offender would not be parole eligible
 Steward, Donald      164756   8/18/2016     12/20/2016        SECC         Video           until 11/2032. Steward has been
                                                                                             scheduled for a reconsideration
                                                                                                    hearing 11/2032.
   McElroy, Ralph     169637   8/23/2016     12/13/2016       ERDCC        In Person        Reconsideration Hearing 12/2021
  Collier, Jonathan   191078   9/1/2016      12/19/2016        SCCC          Video          Reconsideration Hearing 12/2021
   Hardy, James       164676    9/1/2016     12/20/2016        SCCC          Video          Reconsideration Hearing 12/2021
  Ramsey, Edward      182817    9/1/2016      12/6/2016        CRCC          Video                 Release 12/6/2021
   Goforth, Jerry     181742    9/6/2016      12/9/2016        JCCC        In Person        Reconsideration Hearing 12/2034
Richardson, Antonio   990104   9/15/2016      12/6/2016        CRCC          Video          Reconsideration Hearing 12/2021
                                                                                                                                   4/27/2017- It was discovered the
   Eden, Walter       181041   9/15/2016      1/3/2017         CRCC         Video           Reconsideration Hearing 1/2022         offender was 18 at the time of the
                                                                                                                                    offense- Charlie Baker to notify
Brewster, Douglas     184060    9/15/2016    1/18/2017        ERDCC        In Person        Reconsideration Hearing 1/2022
  Stewart, Curtis     182472    9/16/2016    1/25/2017         SCCC          Video          Reconsideration Hearing 1/2022
 Roland, Theron       165253    9/27/2016     1/3/2017         CRCC          Video          Reconsideration Hearing 1/2022
   Minks, Jason       191128    10/3/2016    1/24/2017         JCCC        In Person        Reconsideration Hearing 1/2022
   Wedlow,Tino        177760   10/12/2016     2/7/2017         CRCC          Video          Reconsideration Hearing 1/2022
 Bradshaw, Kevin      164545   11/28/2016     3/1/2017          PCC          Video          Reconsideration Hearing 3/2021
 Roberts, Sidney      171590   12/12/2016    3/9/2017          JCCC        In Person        Reconsideration Hearing 3/2021
 Wilson, Leddell      164041   11/28/2016    4/12/2017        ERDCC        In Person        Reconsideration Hearing 4/2022
  McNair, Daryll      190296   12/20/2016    4/18/2017         JCCC        In Person        Reconsideration Hearing 4/2022
                                                                                                                                    Withdrew 8/4/2016 petition on
  Frazier, Aaron      182639    8/4/2016     12/19/2016        PCC                                                                12/15/2016- Requested an in person
                                                                                                                                               hearing

                                                                                                                                  Re-petition 12/28/2016- scheduled
  Frazier, Aaron      182639   12/28/2016    4/13/2017         PCC         In Person        Reconsideration Hearing 4/2022
                                                                                                                                       for an in person hearing
 Brown, Norman        191425    1/3/2017      5/24/2017        SCCC        In Person        Reconsideration Hearing 5/2021
 Gebhart, William     155779   1/17/2017    N/A 1/19/2017      JCCC                               Offender ineligible               Life without parole for 50 years.
   Lay, Jeromy        189868   10/4/2016    N/A 10/6/2016      SCCC                               Offender ineligible                May apply again on 11/6/2016
                                                                                                                                    Re-petition received 2/27/2017.
   Lay, Jeromy        189868   2/27/2017     6/28/2017         SCCC        In Person        Reconsideration hearing 6/2022
                                                                                                                                         Scheuled for a hearing
   Crawford, Ike      500538   2/10/2017     6/28/2017         SCCC        In Person        Reconsideration Hearing 6/2020
                                                                                                                                     Withdrew 9/2016 Petition on
McRoberts, Michael    176299    9/6/2016       Dec-16          CRCC                                                               11/21/2016- Requested an in person
                                                                                                                                                hearing
                                                                                                                                    Re-petition-Scheduled for an in
McRoberts, Michael    176299   2/21/2017     6/14/2017         CRCC        In Person               Release 3/1/2022
                                                                                                                                            person hearing
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                                                                                                                       May re-submit a petition after
  Rousan, William       519735   2/28/2017     N/A 2/28/2017   JCCC                     Offender ineligible
                                                                                                                               11/21/2019
                                                                                                                       May re-submit a petition after
Santillan, Christpher   535405   4/7/2017      N/A 4/7/2017    PCC                      Offender ineligible
                                                                                                                                2/19/2019
Anderson, Edward        191112   5/17/2017      10/18/2017     PCC    In Person         Release 04/06/2019
Clements, Ronald        179852   6/2/2017          Oct-17      JCCC   In Person   Reconsideration Hearing 10/2021
    Davis, Chad         513603   6/2/2017           NA         JCCC                                                 Withdrew petition on 9/8/2017
    Harris, Lisa         83183   11/29/2017     4/10/2018       CCC    In Peron
Thomas, Tommy           154109   11/20/2017      3/14/2018      PCC      Video    Reconsideration Hearing 03/2022
  Readus, Rico          503509   12/14/2017         NA          PCC   In Person                                     Withdrew petition on 2/26/2018
 Gilliland, Martin      502287     1/26/2018        NA         SCCC                                                 18 at time of offense
    Davis, Chad         513603      2/9/2018        6/7/2018   JCCC
Williams, Michael       505756     4/23/2018        8/1/2018    PCC




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